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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

                  Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

              Defendants.
  ____________________________________/

                           ORDER SCHEDULING SEALED HEARING
                           ON CIPA SECTION 3 PROTECTIVE ORDER

          A sealed hearing on the Special Counsel’s Renewed Motion for Protective Order Pursuant

  to Section 3 of the Classified Information Protection Act (CIPA) [ECF No. 84] will take place at

  a designated time and place to discuss sensitive, security-related issues concerning classified

  discovery.

       1. Any forthcoming motion for a CIPA Section 3 Protective Order as to Defendant De

          Oliveira shall be filed on or before August 22, 2023, following meaningful conferral, to

          permit the Court’s collective consideration of all CIPA Section 3 issues at the sealed

          hearing.

       2. Defendants are not required to appear at the sealed hearing.

       3. There will be no hearing on August 25, 2023, as previously reserved in the Court’s

          Scheduling Order [ECF No. 83].
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                                                       CASE NO. 23-80101-CR-CANNON


          DONE AND ORDERED in Chambers in Fort Pierce, Florida, this 17th day of August

  2023.




                                                _________________________________
                                                AILEEN M. CANNON
                                                UNITED STATES DISTRICT JUDGE


  cc:     counsel of record




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